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                 Exhibit 8
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                             https://www.nytimes.com/2016/07/28/us/politics/donald-trump-russia-
                             clinton-emails.html



Donald Trump Calls on Russia to Find Hillary Clinton’s
Missing Emails
By Ashley Parker and David E. Sanger
July 27, 2016


DORAL, Fla. — Donald J. Trump said on Wednesday that he hoped Russian intelligence
services had successfully hacked Hillary Clinton’s email, and encouraged them to publish
whatever they may have stolen, essentially urging a foreign adversary to conduct
cyberespionage against a former secretary of state.

“Russia, if you’re listening, I hope you’re able to find the 30,000 emails that are missing,”
Mr. Trump said during a news conference here in an apparent reference to Mrs. Clinton’s
deleted emails. “I think you will probably be rewarded mightily by our press.”

Mr. Trump’s call was another bizarre moment in the mystery of whether Vladimir V.
Putin’s government has been seeking to influence the United States’ presidential race.

His comments came amid questions about the hacking of the Democratic National
Committee’s computer servers, which American intelligence agencies have told the White
House they have “high confidence” was the work of the Russian government.

At the same news conference, Mr. Trump also appeared to leave the door open to
accepting Russia’s annexation of Crimea two years ago — which the United States and its
European allies consider an illegal seizure of territory. That seizure, and the continued
efforts of Russian-aided insurgents to undermine the government of Ukraine, are the
reason that the United States and its allies still have economic sanctions in force against
Moscow.

When asked whether he would recognize Crimea “as Russian territory” and lift the
sanctions, Mr. Trump said: “We’ll be looking at that. Yeah, we’ll be looking.”

Mr. Trump’s apparent willingness to avoid condemning Mr. Putin’s government is a
remarkable departure from United States policy and Republican Party orthodoxy, and
has fueled the questions about Russian meddling in the campaign. Mr. Trump has denied
that, saying at the news conference that he has never met Mr. Putin, and has no
investments in Russia.
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“I would treat Vladimir Putin firmly, but there’s nothing I can think of that I’d rather do
than have Russia friendly as opposed to the way they are right now,” he said, “so that we
can go and knock out ISIS together.”

Mr. Trump later tried to modify his remarks about hacking Mrs. Clinton’s emails,
contending they represented an effort to get the Russians to turn over their trove to the
F.B.I.

With the political conventions coming to an end on Thursday, Mr. Trump is expected to
receive his first national security briefings from American intelligence agencies in
coming days. It is unclear whether those briefings — which describe the global
challenges facing the United States but not continuing covert operations or especially
sensitive intelligence — will change any of his views.

His comments about Russian hacking came on a day when Obama administration
officials were already beginning to develop options for possible retaliation against Russia
for the attack on the Democratic National Committee. As is often the case after cyber
incidents, the options for responding are limited and can be viewed as seeming too mild
or too escalatory.

The administration has not publicly accused the Russian government of the Democratic
National Committee hacking, or presented evidence to back up such a case. The leaked
documents, first published by a hacker who called himself “Guccifer 2.0” and who is now
believed to be a character created by Russian intelligence, portrayed some committee
officials as favoring Mrs. Clinton’s candidacy while denigrating her opponent, Senator
Bernie Sanders. The release of the internal party emails and documents led to the
resignation of Debbie Wasserman Schultz as chairwoman of the party.

Mr. Trump contended on Wednesday that the political uproar over whether Russia was
meddling in the election was a “total deflection” from the embarrassing content of the
emails. Many Republicans, even some who say they do not support Mr. Trump, say they
agree.

If Mr. Trump is serious in his call for Russian hacking or exposing Mrs. Clinton’s emails,
he would be urging a power often hostile to the United States to violate American law by
breaking into a private computer network. He would also be contradicting the Republican
platform, adopted last week in Cleveland, saying that cyberespionage “will not be
tolerated,” and promising to “respond in kind and in greater magnitude” to all Chinese
and Russian cyberattacks.

In the past, the Obama administration has stopped short of retaliating against Russia —
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at least in any public fashion — for its attacks on the State Department and White House
unclassified email systems, or on networks used by the Joint Chiefs of Staff. It never even
publicly identified Russian intelligence as the source of those intrusions, though the
subject was widely discussed by senior United States officials when they were not
speaking for attribution.

In contrast, the United States did bring indictments against Chinese and Iranian hackers
for thefts of intellectual property and attacks on American banks, and imposed economic
sanctions against North Korea in early 2015, for hacking into Sony Pictures
Entertainment’s computers.

Almost as soon as Mr. Trump spoke, other Republicans raced in to try to reframe his
remarks and argue that Russia should be punished. A spokesman for Speaker Paul D.
Ryan termed Russia “a global menace led by a devious thug.” The spokesman, Brendan
Buck, added: “Putin should stay out of this election.”

Even Gov. Mike Pence of Indiana, Mr. Trump’s running mate, issued a statement, saying
that “if it is Russia and they are interfering in our elections, I can assure you both parties
and the United States government will ensure there are serious consequences.” Mr. Pence
did not attend Wednesday’s news conference because he was giving local television
interviews, and an aide to Mr. Pence said that his team had written his statement about
Russia before Mr. Trump began speaking.

Shortly after that Mr. Trump sent a message on Twitter declaring “If Russia or any other
country or person has Hillary Clinton’s 33,000 illegally deleted emails, perhaps they
should share them with the FBI!”

The fact that the Democratic committee’s servers were targeted — and, apparently, not
those of the Republican National Committee — has brought up inevitable comparisons
with the origins of the Watergate scandal, when burglars found little after breaking into
Democratic committee offices before the 1972 election. The hackers, more than 40 years
later, were more successful: A reconstruction of events suggests the first successful
piercing of the Democrats’ networks occurred in June 2015, long before the Russians, or
anyone else, could have known Mr. Trump would get the nomination.

The Clinton campaign, eager to turn the subject from the chaos caused by the email
release to the question of Russian interference, accused Mr. Trump of encouraging
Russian espionage.

“This has to be the first time that a major presidential candidate has actively encouraged
a foreign power to conduct espionage against his political opponent,” said Jake Sullivan,
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Mrs. Clinton’s chief foreign policy adviser, whose emails from when he was a State
Department aide were among those that were hacked.

“This has gone from being a matter of curiosity, and a matter of politics, to being a
national security issue,” he added.

For his part, Mr. Trump cast doubt on the conclusion that Russia was behind the hacking.
“I have no idea,” he said. He said the “sad thing” is that “with the genius we have in
government, we don’t even know who took the Democratic National Committee emails.”

Mr. Trump then argued that if Russia, or any other foreign government, was behind the
hacking, it showed just how little respect other nations had for the current administration.

“President Trump would be so much better for U.S.-Russian relations” than a President
Clinton, Mr. Trump said. “I don’t think Putin has any respect whatsoever for Clinton.”

Former Representative Pete Hoekstra of Michigan, a Republican who had served as
chairman of the House Intelligence Committee, said Mr. Trump was right to keep
hammering Mrs. Clinton on the subject of her private emails.

Mr. Hoekstra said he was untroubled by Mr. Trump’s goading of a foreign power,
particularly in light of Mrs. Clinton’s use of a private server while she was secretary of
state.

”Trump is bringing up a fairly valid point: Hillary Clinton, with her personal email at the
State Department, has put the Russians in a very enviable position,” Mr. Hoekstra said.
“Most likely the Russians already have all that info on Hillary.”

But Representative Jason Chaffetz, a Utah Republican who led the House oversight
committee that looked into Mrs. Clinton’s emails, was more critical. If Mr. Trump’s
comments were meant literally, he said in an interview, “I think he was absolutely wrong
and out of line. I would never have said it that way, and I think it was ill-advised.”

If the remark was tongue-in-cheek, he added, it failed at political humor.
